  Case: 1:21-cv-00135 Document #: 511 Filed: 12/15/22 Page 1 of 5 PageID #:10461




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




                                                     Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                          Judge Sharon Johnson Coleman

                                                     Magistrate Judge Maria Valdez



   PROPOSAL OF PLAINTIFFS’ COUNSEL REGARDING ALLOCATION OF FEES

       Interim Lead Counsel Loevy & Loevy (“Loevy”), as well as Frank Hedin of Hedin Hall

LLP (“Hedin”), Scott Bursor and Joshua Arisohn of Bursor & Fisher, P.A. (“Bursor”), Michael

Drew of Neighborhood Legal LLC, Michael Wood and Celetha Chatman of Community

Lawyers LLC, Steven Webster and Aaron Book of Webster Book LLP1 hereby submit the

following proposal for allocation of attorneys’ fees in the event the Court approves an award of

attorneys’ fees to Plaintiffs’ Counsel via settlement or judgment with a certified class and subject

to the Court’s approval.

       After an opportunity to confer with one another, all but one of the law firms representing

plaintiffs in the case (see footnote 1) have reached agreement on the method for allocating fees,

reserving all rights to submit a modified proposal should the Court alter the appointment of

interim lead class counsel when ruling on class certification. The proposal is as follows:




1 These firms, together with Scott Drury of Drury Legal LLC, are referred to herein as
“Plaintiffs’ Counsel.” Mr. Drury has decided not to join this Proposal. All of the other attorneys
and law firms representing Plaintiffs in this matter have joined.



                                                 1
    Case: 1:21-cv-00135 Document #: 511 Filed: 12/15/22 Page 2 of 5 PageID #:10462




        A.      FEES.

        After reimbursement of costs and expenses reasonably expended, fees will be allocated as

follows:

                1.      20% to Loevy;

                2.      12% to Drury;

                3.      8% to Bursor and Hedin; and

                4.      The remaining 60% to be split pro rata based on lodestar reasonably
                                   2
                        expended. Plaintiffs’ Counsel shall endeavor to agree upon the reasonably
                        expended lodestar of each firm. To the extent an agreement is not reached,
                        Plaintiffs’ Counsel shall submit their time records to the Court for a
                        determination of each firm’s reasonably expended lodestar. Once the
                        reasonably expended lodestar of each firm is determined, the remaining
                        60% of fees shall be awarded to Plaintiffs’ Counsel at the percentage of
                        the lodestar to which they are entitled.

        Loevy will endeavor to allocate work so that 50% of the work will be done by attorneys

employed by Loevy, and 50% of the work will be done by other Plaintiffs’ Counsel.

        B.      COSTS AND EXPENSES.

        Plaintiffs’ Counsel shall be responsible for their own non-material costs and expenses.

Any material billable costs and expenses will be advanced by Loevy and then split pro rata on a

quarterly basis according to each firm’s percentage split of fees as set forth in § A above at that

time.3 Plaintiffs’ Counsel shall recover their reasonably expended costs and expenses from any

award of fees and costs.




2
 Bursor, Hedin and Drury have separately agreed to share the cumulative total of any pro rata amount to
which their firms collectively are entitled with 60% going to Drury and 40% going to Bursor and Hedin.

3 To date, the Loevy firm has borne almost the entire burden of those costs, an amount exceeding $50,000
(mostly in expert fees).




                                                   2
  Case: 1:21-cv-00135 Document #: 511 Filed: 12/15/22 Page 3 of 5 PageID #:10463




       WHEREFORE, Interim Lead Counsel Loevy & Loevy; Frank Hedin of Hedin Hall LLP;

Scott Bursor; Joshua Arisohn of Bursor & Fisher, P.A.; Michael Drew of Neighborhood Legal

LLC; Michael Wood and Celetha Chatman of Community Lawyers LLC; Steven Webster and

Aaron Book of Webster Book LLP; respectfully request that the Court enter the attached

proposed Order directing that any fund of fees approved by the Court as part of a settlement or

judgment with a certified class (the “Fees Fund”) be allocated in accordance with the proposed

Order subject to later modification by the Court.

                                                       RESPECTFULLY SUBMITTED:

By: /s/ Jon Loevy                                   By: /s/ Frank Hedin
    JON LOEVY                                           FRANK HEDIN

    Plaintiffs’ interim lead class counsel              Counsel for Other Plaintiffs


By: /s/ Michael Drew                                By: /s/ Joshua Arisohn
    MICHAEL DREW                                        JOSHUA ARISOHN

    Counsel for Other Plaintiffs                        Counsel for Other Plaintiffs


By: /s/ Steven Webster                              By: /s/ Michael Wood
    STEVEN WEBSTER                                      MICHAEL WOOD

Counsel for Other Plaintiffs                            Counsel for Other Plaintiffs




                                                3
  Case: 1:21-cv-00135 Document #: 511 Filed: 12/15/22 Page 4 of 5 PageID #:10464




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


                                                    Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                         Judge Sharon Johnson Coleman

                                                    Magistrate Judge Maria Valdez




       The Court hereby orders that any fund of fees approved as by the Court as part of a

settlement or judgement with a certified class (the “Fees Fund”) shall be allocated as follows:

       After reimbursement of costs and expenses reasonably expended, fees will be allocated as

follows:

               1.     20% to Loevy & Loevy;

               2.     12% to Drury Legal, LLC;

               3.     8% to Bursor & Fisher, P.A. and Hedin Hall LLP; and

               4.     The remaining 60% to be split pro rata based on lodestar reasonably
                      expended. Plaintiffs’ Counsel (defined as Loevy & Loevy); and Hedin
                      Hall LLP; Bursor & Fisher, P.A.; Webster Book, LLP, Drury Legal, LLC;
                      Neighborhood Legal LLC; and Community Lawyers LLC shall endeavor
                      to agree upon the reasonably expended lodestar of each firm. To the extent
                      an agreement is not reached, Plaintiffs’ Counsel shall submit their time
                      records to the Court for a determination of each firm’s reasonably
                      expended lodestar. Once the reasonably expended lodestar of each firm is
                      determined, the remaining 60% of fees shall be awarded to Plaintiffs’
                      Counsel at the percentage of the lodestar to which they are entitled.

       Loevy a shall endeavor to allocate work so that 50% of the work will be done by

attorneys employed by Loevy, and 50% of the work will be done by other Plaintiffs’ Counsel.




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  Case: 1:21-cv-00135 Document #: 511 Filed: 12/15/22 Page 5 of 5 PageID #:10465




       B.      COSTS AND EXPENSES.

       Plaintiffs’ Counsel shall be responsible for their own non-material costs and expenses.

Any material billable costs and expenses shall be advanced by Loevy, and then split pro rata on

a quarterly basis according to each firm’s percentage split of fees as set forth above at that time.

Plaintiffs’ Counsel shall recover their reasonably expended costs and expenses from any award

of fees and costs.

       C.      The Court, in its discretion, may amend this Order at any time and will reconsider

it after any favorable ruling on any motion to certify a plaintiffs’ class. Further, the Court may

amend this Order upon motion for good cause shown. This Order does not limit, prohibit or

impede upon any claims, demands or causes of action that any individual or entity subject to this

Order may have against any other individual or entity subject to this Order.



Dated: ______________, 2022                          ___________________________________
                                                     UNITED STATES DISTRICT JUDGE




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